462 F.2d 616
    Lee RATNER, Plaintiff-Appellant,v.SCIENTIFIC RESOURCES CORP. et al., Defendants,Don A. Mayerson et al., Defendants-Appellees.Lee RATNER, Plaintiff-Appellant,v.SCIENTIFIC RESOURCES CORP. et al., Defendants-Appellees.
    Nos. 71-3142, 71-3436.
    United States Court of Appeals,
    Fifth Circuit.
    June 8, 1972.
    
      David M. Stolar, Miami Beach, Fla., David S. Ward, Asher B. Lans, New York City, Cohen, Shapiro, Polisher, Shiekman &amp; Cohen, Philadelphia, Pa., for plaintiff-appellant; Lans, Feinberg &amp; Cohen, Robert Stephan Cohen, New York City, of counsel.
      William R. Alvin, Frates, Floyd, Pearson &amp; Stewart, Robert L. Floyd, Miami, Fla., Perry S. Bechtle, Philadelphia, Pa., for defendants-appellees; James D. Little, Miami, Fla., of counsel.
      Before PHILLIPS,* THORNBERRY and RONEY, Circuit Judges.
      PER CURIAM:
    
    
      1
      Plaintiff-appellant brought this action against numerous defendants on the following legal grounds:
    
    
      2
      1.  Section 17(a) of the Securities Act of 1933.
    
    
      3
      2. Section 10(b) of the Securities Act of 1934.
    
    
      4
      3. Fraud under Fla.Stat. Sec. 517.301, F.S.A.
    
    
      5
      4.  Common law fraud.
    
    
      6
      All these bases for relief were grounded on identical factual allegations.  The district court, 53 F.R.D. 325, dismissed the allegations of Florida statutory and common law fraud as to only four of the defendants, appellees here, on the basis that they could not properly be served with process on any claim other than that arising under the Securities Act.
    
    
      7
      It is clear that the order of the district court is not final under 28 U.S.C.A. Sec. 1291; Schwartz v. Eaton, 2d Cir. 1959, 264 F.2d 195, and there has been no attempt to comply with the requirements of 28 U.S.C.A. Sec. 1292(b) or Fed. R.Civ.P. 54(b).
    
    
      8
      The appeal is, therefore, dismissed for want of jurisdiction.
    
    
      
        *
         Of the Tenth Circuit, sitting by designation
      
    
    